                                                                                 Case 4:11-cv-04783-DMR Document 183 Filed 04/10/12 Page 1 of 1



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                                                                         8                                    UNITED STATES DISTRICT COURT
                                                                         9                                   NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   REENA LEVIN,                                          No. C-11-04783 DMR
                               For the Northern District of California




                                                                         12                  Plaintiff(s),                          ORDER DISMISSING CASE WITH
                                                                                                                                    PREJUDICE
                                                                         13          v.
                                                                         14   DEBORAH SELLERS,
                                                                         15               Defendant(s).
                                                                              ___________________________________/
                                                                         16
                                                                         17          This case is hereby DISMISSED WITH PREJUDICE. The court shall retain jurisdiction for
                                                                         18   the limited purpose of resolving disputes arising out of the parties’ March 10, 2012 settlement
                                                                         19   agreement. [See Docket No. 180.]
                                                                         20          The Clerk of the Court is directed to close the case file.
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                                                                                                                                    United States Magistrate Judge
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